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11                                UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                   SAN FRANCISCO DIVISION

14
      UNITED STATES OF AMERICA,                       Case No. 3:20-cr-00337-WHO
15
                    Plaintiff,                        ORDER
16
             v.
17
      JOSEPH SULLIVAN,
18
                    Defendant.
19

20
                                               ORDER
21
            The Court, having considered the defendant’s Unopposed Motion For Pretrial Return
22
     Date For Subpoena Duces Tecum to SoftBank Group Corp. and the supporting declaration,
23

24   hereby GRANTS the motion and ORDERS that the subpoena attached as Exhibit A to the

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26   ////
27
     ////
28

     MOT. AND [PROPOSED] ORDER
     3:20-cr-00337-WHO                            1
             Case 3:20-cr-00337-WHO Document 96 Filed 02/11/22 Page 2 of 2


     Declaration of Michelle Holman Kerin, may issue to SoftBank Group Corp.
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 2   IT IS SO ORDERED.

 3
            DATED: February 11, 2022.
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 5                                                    WILLIAM H. ORRICK
                                                      UNITED STATES DISTRICT JUDGE
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     MOT. AND [PROPOSED] ORDER
     3:20-cr-00337-WHO                            2
